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September 9, 2024                                                   Orrick, Herrington & Sutcliffe LLP
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RE:   Authors Guild et al. v. OpenAI Inc. et al., No. 1:23-cv-8292
      Alter et al. v. OpenAI Inc. et al., No. 1:23-cv-10211
      The New York Times Co. v. Microsoft Corp., et al. No. 1:23-cv-11195
      Basbanes et al. v. Microsoft Corp. et al., No. 1:24-cv-0084
      New York Daily News, LP, et al. v. Microsoft Corp., et al., No. 1:24-cv-3285
      The Center for Investigative Reporting, Inc. v. OpenAI, Inc., et al., No. 1:24-cv-
      4872

Dear Magistrate Judge Wang:

On behalf of all parties in the above-referenced actions and pursuant to the Court’s
August 29 Scheduling Order, counsel for Microsoft hereby submits the proposed
agenda for the September 12, 2024 Status Conference.

The parties met and conferred in an effort to streamline the issues before the Court.
All items identified by any party for resolution have been included in the attached
lists, although not all parties agree as to the propriety of addressing items that (a)
were filed after the Court’s August 29 order, and/or (b) have not yet been docketed.

In light of the number of open disputes and the overlap in some of the issues, the
parties have provided two lists organizing the information for the Court’s review:
Exhibit A (organized by case) and Exhibit B (organized by issue). The attached
list is comprehensive and includes all currently pending disputes that have been
referred to Your Honor, including those filed prior to Your Honor’s appointment to
these matters.

All parties wish to express their gratitude to the Court for its attention to these
matters.

Respectfully submitted,

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/s/ Annette Hurst
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Annette Hurst




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